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                                           #347



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA                             )
                                                     )
       Plaintiff,                                    )
                                                     )
v.                                                   )              11-CR-30049-WDS
                                                     )
                                                     )
ANTONIO GREEN,                                       )
                                                     )
       Defendant,                                    )

                                 MEMORANDUM & ORDER

STIEHL, District Judge:

       On June 14, 2011, the United States of America and defendant Antonio Green consented

to appear before Magistrate Judge Stephen C. Williams pursuant to Federal Rule of Criminal

Procedure 11 and SDIL Rule 72.1(b)(2). At that time, the defendant entered a plea of guilty to

Counts 1, 2 and 3 of the Indictment.

       On June 16, 2011, Judge Williams submitted a Report recommending that the

undersigned District Judge accept the plea of guilty, that a presentence investigation and report

be prepared, and that the Defendant be adjudicated guilty and have sentence imposed

accordingly (Doc. 85).

       The Report included a notice to the parties informing them of their right to appeal by way

of filing “Objections” within fourteen (14) days of service of the Report and Recommendation.

Neither party has filed an objection, therefore, pursuant to 28 U.S.C. § 636(b), this Court need

not conduct de novo review. Thomas v. Arn, 474 U.S. 140, 149-52 (1985); Video Views Inc. v.

Studio 21, Ltd., 797 F.2d 538 (7th Cir. 1986).

       Accordingly, the undersigned District Judge ADOPTS Magistrate Judge William’s
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Report and Recommendation (Doc. 85), ACCEPTS defendant Robert Sharp’s plea of guilty, and

ADJUDGES defendant Robert Sharp guilty of Count 1 of the Indictment.



IT IS SO ORDERED.

DATE: 14 September, 2011

                                                    s// WILLIAM D. STIEHL
                                                         District Judge




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